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                                  UNITED STATES BANKRUPTCY COURT
                                            Northern District of Indiana
                                                Hammond Division
In Re: Debtor(s) (name(s) and address)                     )
Ryan J Wacyra                                              )
aka Ryan James Wacyra                                      )
xxx−xx−3844                                                ) Case Number: 25−20099−jra
9527 Forrest Dr                                            )
Highland, IN 46322                                         )
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                                                           ) Chapter: 13
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           ORDER AND NOTICE SCHEDULING HEARING ON CONFIRMATION
            OF CHAPTER 13 PLAN AND FIXING TIME TO OBJECT THERETO
   On January 22, 2025 , the Debtor(s) filed a Chapter 13 Plan, and the Trustee has filed his Notice of Conclusion
of §341(a) Meeting of Creditors and Motion to Set Confirmation Hearing.

   IT IS ORDERED AND NOTICE HEREBY IS GIVEN THAT:

   The hearing on confirmation of the Chapter 13 Plan of the Debtor(s) is hereby scheduled for March 31, 2025, at
11:30 AM (local Court time) in Courtroom 8, Hammond Federal Building, 5400 Federal Plaza, Hammond, Indiana.
Any party desiring to participate telephonically in the hearing should call (571) 353−2301 and use Access Code
018194371. Unless otherwise ordered by the Court, this hearing will be the only confirmation hearing of which
creditors and parties−in−interest will be provided notice. Upon resolution of matters which may preclude
confirmation of the plan at the hearing, the Court may enter an order confirming the plan without further notice or
hearing.

   OBJECTIONS TO THE CONFIRMATION OF THE PLAN OF THE DEBTOR(S), IF ANY, MUST BE
FILED IN WRITING ON OR BEFORE March 17, 2025 , WITH THE CLERK, UNITED STATES
BANKRUPTCY COURT, AND SERVED UPON THE DEBTOR(S), ATTORNEY FOR THE DEBTOR(S)
AND THE CHAPTER 13 TRUSTEE. Any objection to confirmation shall contain a short, plain statement
concerning the factual or legal basis for the objection, or any such objection may be overruled without a hearing.
See N.D.Ind.L.B.R. B−9014−1(a).
   Not later than twenty−one (21) days prior to the last day fixed for filing objections to confirmation as set out
above, the Chapter 13 Trustee shall serve a copy of this Order and Notice, together with a copy of the Plan, upon all
the entities listed on the Creditor Matrix in this case as of the date of this Order pursuant to Fed.R.Bankr.P. 3015(d)
and Fed.R.Bankr.P. 2002(b), and promptly thereafter file proof of service thereof with the Court. A list of all
creditors and parties in interest and their addresses is available though PACER. If any creditor or party in interest is
entitled to service of the plan in the manner provided by Rule 7004, see e.g., Fed. R. Bankr. P. Rules 3012(b);
4003(d); 7004, it shall be the debtor(s)' responsibility to serve the plan in the required manner and make due proof
thereof.

  PLEASE NOTE THAT IF THERE ARE NO OBJECTIONS TO THE PLAN OR OBJECTIONS HAVE
BEEN WITHDRAWN, OR RESOLVED BY A FILED STIPULATION, PRIOR TO THE
CONFIRMATION HEARING, THE DEBTOR(S) AND COUNSEL FOR THE DEBTOR(S) NEED NOT
ATTEND THE CONFIRMATION HEARING; ONLY THE TRUSTEE'S ATTENDANCE IS REQUIRED.
THE DEBTOR(S) NEED NOT APPEAR AT THE CONFIRMATION HEARING UNLESS THE COURT HAS
SPECIFICALLY ORDERED SUCH ATTENDANCE.
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    The Court deems 11 U.S.C. §526(c)(1) to provide that the Court cannot award compensation pursuant to
the terms of an agreement between the Debtor(s) and counsel for the Debtor(s) unless that attorney has
complied with 11 U.S.C. §528(a)(1) and (2) with respect to an "assisted person" as defined by 11 U.S.C.
§101(3). If the Debtor(s) is an "assisted person", in order for the court to award any compensation to the
counsel for the Debtor(s) in conjunction with confirmation of the plan, including compensation to be
awarded in an order of confirmation, not later than 7 days in advance of the first scheduled confirmation
hearing any attorney seeking compensation must file with the Court a Statement of Compliance which
affirms that counsel has provided the Debtor(s) with a copy of the fully executed and completed contract
required by 11 U.S.C. §528(a)(1), to which is attached a copy of the contract so provided. If the Debtor(s) is
not an "assisted person", not later than 7 days in advance of the first scheduled confirmation hearing any
attorney seeking compensation must file with the Court either (1) a Statement which clearly establishes the
grounds upon which is based counsel's contention that the Debtor(s) is not an "assisted person", or (2) a
Statement of Compliance, to which is attached a copy of the written contract between the Debtor(s) and
counsel, if one was utilized. If the required Statement is not timely filed, the Court will not provide for
compensation of the counsel for the Debtor(s) in the confirmation order. The required Statement may be
filed at the inception of the case.

   Due to the requirements of 11 U.S.C. § 1324(b), the confirmation hearing will not be continued based upon a
party's motion.




   Dated: February 20, 2025



                                                                       James R. Ahler
                                                                       ______________________________________
                                                                       Judge, United States Bankruptcy Court
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